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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

                                             )
SEILING MUNICIPAL HOSPITAL                   )
AUTHORITY,
                                             )
              Plaintiff,                     )
                                             )     Case No. CIV-16-1143-D
v.                                           )
CAH ACQUISITION COMPANY 9,                   )
LLC, HMC/CAH CONSOLIDATED,                   )
INC., and RURAL COMMUNITY                    )
HOSPITALS OF AMERICA, LLC.,                  )
              Defendants.                    )


         JOINT MOTION TO EXTEND DEADLINE TO REOPEN CASE

       COME NOW the Plaintiff, Seiling Municipal Hospital Authority (“Plaintiff”), and

Defendants, CAH Acquisition Company 9 LLC, HMC CAH Consolidated Inc., and Rural

Community Hospitals of America, LLC (collectively “Defendants”) by and through the

undersigned counsel, and hereby request that this Court extend the deadline set forth in

this Court’s Administrative Closing Order [Dkt. No. 37] to reopen this case by two (2)

additional weeks (or until June 12, 2018) in order to allow additional time to obtain one

required signature on the related settlement agreement. A Joint Stipulation of Dismissal

will be filed on or before June 12, 2018.

       The parties therefore jointly request that this honorable Court extend the deadline

set forth in the previously issued Administrative Closing Order to reopen this case by two

(2) additional weeks (or until June 12, 2018).
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                            Respectfully submitted,

                            s/Lysbeth L. George
                            Judy Hamilton Morse, OBA # 6098
                            Christopher Staine, OBA #30263
                            Lysbeth L. George, OBA # 30562
                            Rachel Jordan, OBA #32704
                            -Of the Firm-
                            CROWE & DUNLEVY, PC
                            Braniff Building
                            324 N. Robinson Ave., Suite 100
                            Oklahoma City, OK 73102-8273
                            (405) 234-3245; (405) 272-5203 (Facsimile)
                            Judy.morse@crowedunlevy.com
                            Christopher.staine@crowedunlevy.com
                            Lysbeth.george@crowedunlevy.com
                            Rachel.jordan@crowedunlevy.com

                            ATTORNEYS FOR PLAINTIFF



                            s/Ryan A. Ray
                            Ryan A. Ray, OBA # 22281
                            NORMAN WOHLGEMUTH CHANDLER
                            JETER BARNETT, & RAY, P.C.
                            401 S. Boston Ave.
                            2900 Mid-Continent Tower
                            Tulsa, OK 74103
                            Telephone: (918) 583-7571
                            Facsimile: (918) 584-7846
                            rar@nwcjlaw.com

                            ATTORNEYS FOR DEFENDANTS
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                             CERTIFICATE OF SERVICE

       I hereby certify that on May 29th, 2018, I electronically transmitted the attached
document to the Court Clerk using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to all ECF
registrants:

                     Ryan A. Ray
                     NORMAN WOHLGEMUTH CHANDLER
                     JETER BARNETT, & RAY, P.C.
                     rar@nwcjlaw.com
                     ATTORNEYS FOR DEFENDANTS

                                           s/ Lysbeth George
                                            Lysbeth George
